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                     UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF OHIO
                            WESTERN DIVISION

TOTAL QUALITY LOGISTICS, LLC,

             Plaintiff,

      v.                                          State Case No. 2021CVH1035
TRAFFIC TECH, INC., a corporation, and
NICKOLAS J. DUGGER, an individual,

             Defendants.



                              NOTICE OF REMOVAL

      Defendants Traffic Tech, Inc. (“Traffic Tech”) and Nickolas J. Dugger, by and

through their undersigned counsel, hereby remove the above-captioned civil action from

the Court of Common Pleas for Clermont County, Ohio, to the United States District Court

for the Southern District of Ohio, Western Division pursuant to 28 U.S.C. §§ 1332, 1441,

and 1446. As grounds for removal, Defendants state the following:

                                   BACKGROUND

      1.     Plaintiff Total Quality Logistics, LLC (“TQL”) filed its Verified Complaint

for Temporary Restraining Order, Preliminary Injunction, Permanent Injunction, and Other

Relief, as well as a Motion for a Temporary Restraining Order and Preliminary Injunction,

in the Court of Common Pleas for Clermont County, Ohio, on November 8, 2021.

      2.     In the Complaint, TQL alleges that Dugger violated a Confidentiality

Agreement and Restrictive Covenant by accepting employment with Defendant Traffic

Tech and by allegedly soliciting TQL’s customers. TQL also alleges that, by hiring
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Dugger, Traffic Tech violated a March 2016 settlement agreement it previously entered

into with TQL. In the Complaint, TQL alleges: (1) breach of contract against Dugger; (2)

misappropriation of trade secrets against Dugger; (3) breach of contract against Traffic

Tech; and (4) tortious interference with contract against Traffic Tech.

       3.     On the same day it filed its Complaint, TQL also filed a motion for a

temporary restraining order against Dugger and Traffic Tech. This motion was still pending

at the time of Removal.

                                 BASIS FOR REMOVAL

       4.     This action is removable pursuant to 28 U.S.C. §§ 1331, 1441 and 1446.

       5.     Removal to this Court is proper under 28 U.S.C. §§ 1441(a) and 1446(a)

because this Court is the United States District Court for the district and division

corresponding to the place where the state-court action was pending.

       6.     The United States District Court for the Southern District of Ohio has

subject-matter jurisdiction over the action based on the diversity of the parties and the

amount in controversy pursuant to 28 U.S.C. § 1332.

       7.     The United States District Court for the Southern District of Ohio has

subject-matter jurisdiction over the action based on claims “arising under the Constitution,

laws, or treatises of the United States,” pursuant to 28 U.S.C. § 1331.

       8.     Traffic Tech has timely removed this action pursuant to 28 U.S.C. §

1446(b)(1). “The notice of removal of a civil action or proceeding shall be filed within 30

days after the receipt by the defendant, through service or otherwise, of a copy of the initial

pleading setting forth the claim for relief upon which such action or proceeding is based.”


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Id. Defendant Traffic Tech was served on November 8, 2021. This notice of removal is

filed within 30 days of November 8, 2021.

                          BASIS FOR DIVERSITY JURISDICTION

        9.        For a Federal Court to have diversity jurisdiction, the civil action must be

between citizens of different states and the amount in controversy must exceed $75,000.

See 28 U.S.C. § 1332(a).

        Diversity of Citizenship

        10.       Dugger is a citizen of Florida.

        11.       Traffic Tech is incorporated in California and its principal place of business

is in Illinois.

        12.       TQL is an Ohio limited liability company. A limited liability company is a

citizen of any state of which a member of the company is a citizen. Upon information and

belief and publicly-available information, each of TQL’s members are citizens of Ohio.

        13.       Thus, there is complete diversity between Plaintiff and Defendants. See 28

U.S.C. §§ 1332, 1441(b).

        Amount in Controversy

        14.       The removing party bears the burden of proving “by a preponderance of the

evidence that the amount in controversy” exceeds $75,000. Hayes v. Equitable Energy Res.

Co., 266 F.3d 560, 572 (6th Cir. 2001). This requirement “does not place upon the

defendant the daunting burden of proving, to a legal certainty” that the jurisdictional

amount is satisfied. Id. (citation omitted). Rather, the Court must remand only if it appears

“to a legal certainty” that the amount is not satisfied. Basicomputer Corp. v. Scott, 973 F.2d


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507, 510 (6th Cir. 1992). In sum, the defendant must show that it is “more likely than not”

that the amount in controversy exceeds $75,000. Rogers v. Wal-Mart Stores, Inc., 230 F.3d

868, 871 (6th Cir. 2000). To that end, “[a] complaint may reach the jurisdictional amount

by including claims for losses that are difficult to quantify, such as competitive losses.”

Basicomputer, 973 F.2d at 510 (finding amount in controversy requirement was met in

non-compete dispute where “each of the defendants generated sales worth well over

$100,000 per year while they worked for [plaintiff]”).

       15.    A notice of removal may assert the amount in controversy if state practices

do not permit demand for a specific sum or permits recovery of damages in excess of the

amount demanded. See 28 U.S.C. § 1446(c)(2)(A)(ii). A notice of removal may also assert

the amount in controversy if the initial pleading seeks nonmonetary relief. See 28 U.S.C. §

1446(c)(2)(A)(i).

       16.    Here, the Ohio Rules of Civil Procedure preclude TQL from stating the

specific amount it seeks to recover. See Ohio R. Civ. P. 8(a) (stating that the party “shall

not specify in the demand for judgment the amount of recovery sought”). Additionally,

TQL seeks nonmonetary relief in its initial pleading. (See Compl. at 10, ¶¶ a–b.) (seeking

“immediate, preliminary, and permanent injunctive relief” against Dugger and Traffic

Tech). As such, Defendants can rightfully assert the amount in controversy in this Notice

of Removal.

       17.    TQL seeks compensatory damages of at least $25,000 against Dugger and

Traffic Tech each. (See Compl. 10, ¶ c (seeking compensatory damages in “excess of

$25,000”); Id. at ¶¶ 29 (claiming damages against Dugger that “exceed the jurisdictional


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minimum of this Court”); Id. at ¶¶ 46, 55 (claiming damages against Traffic Tech that

“exceed the jurisdictional minimum of this Court”). In addition to compensatory damages,

TQL seeks punitive damages, court costs, prejudgment interest, and post-judgment interest.

(See Compl. at pg. 10, ¶ d–f.). Although Defendants deny that TQL is entitled to any

monetary judgment, Defendants assert that total monetary damages, considering the

$25,000 in compensatory damages, court costs, prejudgment interest, and post-judgment

interests that TQL seeks, is approximately $30,000 against Dugger and $30,000 against

Traffic Tech.

       18.      TQL also seeks “immediate, preliminary, and permanent injunctive relief”

against both Dugger and Traffic Tech. (See Compl. 10, ¶¶ a–b.) TQL seeks enforcement

of both Dugger’s non-compete agreement and the terms of a 2016 Settlement Agreement

between TQL and Traffic Tech. Together, TQL seeks an injunction that would do the

following:

       (1)      Prohibit Dugger from contacting, soliciting, or accepting business form,
                rendering any services to, giving assistance to, or accepting any
                compensation from any Customer1 or Customer Prospect2 of TQL;


       1 “Customer” is defined as “any individual, business, or other entity, for whom TQL
has rendered any service, or with respect to which TQL has planned and/or made contact
for the purpose of rendering any service, within the twenty-four (24) months immediately
preceding the termination or cessation of Employee’s employment.”
       2  “Customer prospect” is defined as “any business, company, individual,
partnership, or entity, including former Customers, with which TQL or any of its
employees, including but not limited to the Employee, had contact for the purpose of
soliciting business, developing a business relationships, or discussing existing or potential
services of TQL within the twelve (12) months immediately preceding the Employee’s
termination or cessation of employment.”


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       (2)    Prohibit Dugger from entering into, participating, consulting with, or
              engaging in, any business in competition with the Business of TQL;
       (3)    Prohibit Traffic Tech from knowingly soliciting, hiring, or employing any
              current or former TQL employee during the duration of any non-compete
              agreement the employee has with TQL, regardless of how the former TQL
              employee’s employment with TQL ended; and
       (4)    Prohibit Traffic Tech from filing any lawsuits or complaints in any court or
              tribunal challenging the validity of any TQL non-compete agreements TQL
              has with any of its current or former employees.

       19.    The value of injunctive relief for purposes of calculating the amount in

controversy “is equivalent to the value to plaintiff of conducting his business or personal

affairs free from the activity sought to be enjoined.” Basicomputer Corp. v. Scott, 791 F.

Supp. 1280, 1286 (N.D. Ohio 1991), aff’d, 973 F.2d 507 (6th Cir. 1992). “Thus, in a suit

brought by an employer against a former employee to enforce a covenant not to compete,

the court usually will look to the profits earned by the employer on business generated by

the employee during the period immediately preceding his termination.” Id. (citation

omitted). In addition, the Court may also examine “the value of the plaintiff’s lost revenue,

the value of the future effect of a defendant’s breach upon all of the plaintiff’s other

contracts with its sales agents, and the value of trade secrets and confidential information

acquired by the defendants during their employment.” Id. Prior to leaving TQL, Dugger

had generated $1,000,000 in revenue for TQL in calendar year 2021, and $225,000 in gross

profit. He was on track to generate a total of $350,000 in gross profit for TQL by year-end.

(See Dugger Decl. ¶ 3.) TQL seeks injunctive relief that would restrict Dugger and Traffic

Tech from doing business with any of the customers that Dugger sold to at TQL in 2021.




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Thus, the value of the injunctive relief sought by TQL against Dugger—enforcement of

the restrictive covenant—is over $1,000,000 in revenue and $350,000 in gross profit.3

       20.    If the settlement agreement is enforced against Traffic Tech in the manner

in which TQL interprets it, Traffic Tech would be enjoined from hiring any former TQL

employee subject to a non-compete agreement regardless of the reasonableness of such

agreement—forever. Such an injunction provides value to TQL by preserving TQL’s costs

to replace departing employees, train the replacements, and preventing lost revenue due to

an employee’s departure. C.f. OmniMax Int'l, Inc. v. Dowd, CV N16C-04-168-WCC, 2019

WL 3545848, at *4 (Del. Super. Ct. July 17, 2019) (recognizing replacement costs,

training, and lost revenue factors into damages in related context of a breach of employee

non-solicitation provision); Swisher Hygiene Franchise Corp. v. Clawson, CV-15-01331-

PHX-DJH, 2020 WL 2512788, at *6 (D. Ariz. May 14, 2020) (same); Ameritox, Ltd. v.

Savelich, 92 F. Supp. 3d 389, 392 (D. Md. 2015) (same); Am. Consulting, Inc. v. Hannum

Wagle & Cline Eng'g, Inc., 136 N.E.3d 208, 214 (Ind. 2019) (same); Zywave, Inc. v. Cates,

4:18-CV-751-ALM-KPJ, 2020 WL 1182286, at *1 (E.D. Tex. Feb. 21, 2020) (same). TQL

claims that it provides its new employees with “extensive training.” (See Compl. at ¶ 15.)

While Defendants dispute the value (and legality) of TQL’s training program, see e.g.,

Hendricks v. Total Quality Logistics, LLC, 1:10CV649, 2019 WL 2387206, at *2 (S.D.


       3  Additionally, TQL’s requested injunctive relief goes beyond just the customers that
Dugger serviced while employed at TQL. By its terms, the restrictive covenant prevents Dugger
from servicing all of TQL’s customers and prospective customers, regardless of whether Dugger
actually communicated with those customers on behalf of TQL. According to public information,
TQL generated over $4B in gross revenue and over $737M in net revenue last year. Thus, the
value of this injunctive relief is surely above $75,000.


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Ohio Mar. 22, 2019) (declining TQL’s motion for decertification in class action claim

based on TQL’s failure to pay overtime wages to its trainees during its alleged training),

an injunction that prevents TQL employees from leaving provides a competitive advantage

to TQL and certainly contributes to the amount-in-controversy for jurisdictional purposes.

See Basicomputer, 973 F.2d at 510 (“A complaint may reach the jurisdictional amount by

including claims for losses that are difficult to quantify, such as competitive losses.”).

       21.    TQL also seeks attorney’s fees provided for in the agreement between

Dugger and TQL. (See Compl. at 10, ¶¶ a, e.) Although the amount in controversy is

determined “at the time of removal,” see Williamson v. Aetna Life Ins. Co., 481 F.3d 369,

375 (6th Cir. 2007), this Court looks to the “possible attorney’s fees” that may be incurred

throughout the litigation. Mencer v. Kraft Foods Glob., Inc., 695 F. Supp. 2d 667, 679

(S.D. Ohio 2010); Davis v. Kindred Nursing Centers E., L.L.C., No. 2:05-CV-1128, 2006

WL 508802, at *2 (S.D. Ohio Mar. 2, 2006) (same); see also Karl v. Bizar, No. CIV.A.

2:09-CV-34, 2009 WL 2175981, at *5 (S.D. Ohio July 21, 2009) (calculating attorney’s

fees in an amount-in-controversy analysis by looking to the amount of attorney’s fees that

would be spent for “minimal discovery”). Based on prior experience, Defendants estimate

that TQL would expend approximately $200,000 in attorney’s fees to fully litigate this case

through trial, including a motion for a TRO, a preliminary injunction, discovery, summary

judgment, and, ultimately, a trial.

       22.    Altogether, TQL’s claimed monetary relief ($30,000), injunctive relief (at

least $350,000), and projected attorney’s fees ($200,000), Defendants hereby assert,




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pursuant to 28 U.S.C. § 1446(c)(2)(A), that the total amount in controversy for TQL’s

claims against Dugger is at least $580,000, which is above the jurisdictional amount.

       23.    As for TQL’s claims against Traffic Tech, TQL’s claimed monetary relief

($30,000), injunctive relief against Traffic Tech (exact amount unknown, but certainly in

excess of $75,000) and projected attorney’s fees ($200,000), Defendants hereby assert,

pursuant to 28 U.S.C. § 1446(c)(2)(A), that the total amount in controversy for TQL’s

claims against Traffic Tech is at least $305,000, which is above the jurisdictional amount.

                 BASIS FOR “ARISING UNDER” JURISIDICTION

       24.    A Federal Court also has jurisdiction when the civil action includes “a claim

  arising under the Constitution, laws, or treatises of the United States.” See 28 U.S.C. §

  1441(c). When a claim based on state law implicates “significant federal issues,” the

  Federal Court has jurisdiction. See also Grable & Sons Metal Prod., Inc. v. Darue Eng'g

  & Mfg., 545 U.S. 308, 312 (2005) (“There is, however, another longstanding, if less

  frequently encountered, variety of federal “arising under” jurisdiction, this Court having

  recognized for nearly 100 years that in certain cases federal-question jurisdiction will lie

  over state-law claims that implicate significant federal issues.”).

       25.    Here, TQL asserts that Traffic Tech has breached a 2016 Settlement

  Agreement with a no-hire provision wherein Traffic Tech is purportedly restricted,

  indefinitely, from hiring TQL employees that are subject to post-employment non-

  competition restrictions. Defendants contend that this provision (as interpreted by TQL)

  is illegal and unenforceable under the Federal Sherman Act. See 15 U.S.C. § 1 (deeming




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  illegal “every contract, combination in the form of a trust or otherwise, or conspiracy, in

  restraint of trade or commerce among the several States or with foreign nations”).

       26.    In order for TQL’s claims against Traffic Tech to succeed, it must establish

  that the no-hire provision is not unlawful under the Federal Sherman Act. Upon

  information and belief, TQL disputes that this provision is illegal under the Sherman

  Act. Whether this settlement agreement is enforceable as TQL interprets it is of

  substantial federal interest. See Hunter v. Booz Allen Hamilton, Inc., 418 F. Supp. 3d

  214, 223 (S.D. Ohio 2019) (allowing complaint alleging that no-poach agreement

  violated Sherman Act to survive motion to dismiss). Finally, the Court’s exercise of

  jurisdiction here would not disturb the federal-state division of labor under 28 U.S.C. §

  1331. Thus, this Court has jurisdiction pursuant to 28 U.S.C. § 1441(c).

                         OTHER PROCEDURAL MATTERS

       27.    Pursuant to 28 U.S.C. § 1446(a), a copy of all process, pleadings, and orders

in the state-court action are filed with this Notice as Exhibit A.

       28.    In accordance with 28 U.S.C. § 1446(d), a copy of this Notice of Removal

will promptly be filed with the Clerk of the Court of Common Pleas for Clermont County,

Ohio, and will be promptly served on Plaintiff’s counsel.

       29.    Promptly after removal, Counsel for Traffic Tech will move this Court to

appear pro hac vice, pursuant to Local Rule 83.3(e).

       30.    The requirements for removal under 28 U.S.C. §§ 1332, 1441, and 1446 have

been met. If any questions arise as to the propriety of the removal of this action, Traffic




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Tech requests the opportunity to brief this matter and provide further evidence as necessary

to support their position that the case is removable.

       31.    By removing this action to this Court, Traffic Tech does not waive any

defenses that are available to it under applicable law.



November 16, 2021


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November 16, 2021                       Respectfully submitted,


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